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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )            8:04CR206
                      Plaintiff,                     )
                                                     )
       vs.                                           )           REPORT AND
                                                     )
CARLOS CARREON,                                      )       RECOMMENDATION
                                                     )
                      Defendant.                     )



       On April 4, 2005, defendant Carlos Carreon (Carreon), together with his counsel,
Donald B. Fiedler, appeared before the undersigned magistrate judge. Rafael Carrillo, a
certified interpreter in the Spanish language, served as the interpreter by remote telephone
hook-up. Carreon was advised of the charges, the penalties and the right to appear before
a United States District Judge. After orally consenting to proceed before a magistrate judge,
Carreon entered a plea of guilty to Count I of the Third Superseding Indictment.
       After being sworn, Carreon was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Carreon also was given
the advice required by that Rule. Finally, Carreon was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Carreon were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Carreon’s plea of guilty to Count I of the Third Superseding Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary; (2)
there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions of
the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Carreon, Carreon’s
counsel and counsel for the government, and such petition was placed in the court file; (5) the
plea agreement is in writing and is filed in the court file; (6) there were no other agreements
or stipulations other than as contained in the written plea agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, Carlos Carreon, guilty of the
crime set forth in Count I of the Third Superseding Indictment to which Carreon tendered a
guilty plea;
       2.      She not accept the written plea agreement at this time as it contains a provision
under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the time of
sentencing.


                                          ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 4th day of April, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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